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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-CV-02285-NYW
  CENTER FOR LEGAL ADVOCACY, d/b/a
  DISABILITY LAW COLORADO,

             Plaintiff,
  v.


  REGGIE BICHA,
  in his official capacity as Executive Director
  of the Colorado Department of Human Services, and

  JILL MARSHALL, in her official capacity
  as Chief Executive Officer of the Colorado Mental Health
  Institute at Pueblo,

             Defendants.



              PLAINTIFF’S MOTION FOR APPOINTMENT OF SPECIAL MASTER


           Plaintiff Center for Legal Advocacy, d/b/a Disability Law Colorado (“DLC”) respectfully

 moves the Court to appoint a special master and recommends that the Court appoint Groundswell

 Services, Inc. for that task.

           1.       The Court at the November 30, 2018 hearing identified that there are two tracks to

 this case. One is a hearing to resolve whether Defendants Reggie Bicha and Jill Marshall

 (collectively the “Department”) properly invoked DSC in June and December 2017 and to what

 relief Plaintiff is entitled for breach of the Amended Settlement Agreement. Dkt. 116 at 1 n.1.

 The other is resolving how and when the Department can come back into compliance with the

 timeframes for inpatient restoration set out under the 2016 Settlement Agreement and, by

 extension, comply (or come closer to complying) with the United States Constitution. Id. On this

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 latter issue, the Court asked but received no answers as to the current waitlist and when the

 Department can come back into compliance. 1 Partly in response, this Court ordered “Defendants

 to submit to Plaintiff and the court ‘a plan to remedy the Departmental Special Circumstances, and

 the projected timeframe for Resolution’ as contemplated by Paragraph 6(c) of the Amended and

 Restated Settlement Agreement no later than December 14, 2018, including but not limited to

 addressing the status of the proposed Plans reflected in the June 22, 2017 and December 22,

 2017 letters as they pertain to inpatient restoration programs.” Dkt. 116 ¶ 7 (emphasis in

 original).

           2.     The Court also strongly encouraged the parties to consider if there is a path to

 resolution of this case through settlement rather than litigation. One of the issues holding back

 settlement, from DLC’s perspective, is a lack of transparency and information from the

 Department about when they can come back into compliance and the alleged circumstances

 causing the Department’s frequently-invoked inability to comply with the timeframes for inpatient

 restoration required by the Amended Settlement Agreement (and its predecessor).

           3.     The common themes running through these issues are: (1) lack of trust among the

 parties; (2) lack of information provided to DLC and the Court as to the actual situation and

 timeline to return to compliance; (3) lack of any plan by the Department to resolve its inability to

 comply; and (4) lack of success in prior, lengthy negotiations regarding resolution.




           1
          DLC last received data on November 7, 2018 showing the Department remains out of
 compliance with the restoration timeframes under the Amended Settlement Agreement. Its review
 of the numbers indicates the average wait time was at least 58.6 days and the longest wait time
 was 186 days—over half a year.

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           4.     Nor should DLC be tasked with solving the Department’s problems. DLC is a non-

 profit organization that does not have a forensic psychologist systems specialist on staff who can

 provide meaningful feedback to the Department regarding its broken system.

           5.     DLC respectfully submits there is a solution which can solve (or at least address)

 all of these problems: appointment of a special master.

           6.     The Court has broad, inherent authority to appoint a special master and there are

 numerous justifications for doing this under the current circumstances. Appointment of a special

 master is a form of immediate and constructive relief for the Department’s June 2018 and ongoing

 breach of the Amended Settlement Agreement.

           7.     First, special masters are used routinely by courts in complex and complicated

 cases. Rule 53 provides for the appointment of special masters under a variety of circumstances

 and to perform various roles, including to “address pretrial and posttrial matters that cannot be

 effectively and timely addressed by an available district judge or magistrate judge of the district,”

 or to “recommend findings of fact on issues to be decided without a jury if appointment is

 warranted by . . . some exceptional condition.” Fed. R. Civ. P. 53(a)(1)(B)(i). Here, a special

 master is necessary to assist the Court in effectively addressing the complex and technical issues

 surrounding the Department’s repeated and prolonged failures to comply with the Settlement

 Agreement’s timeframes, and the unconstitutional, statewide backlog of mentally ill pretrial

 detainees awaiting competency evaluations constitutes an exceptional condition warranting such

 an appointment.

           8.     It is not uncommon to have a special master in litigation like this one involving the

 warehousing of persons in jails who are deemed incompetent and denied timely restoration


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 treatment (“jail wait litigation”). The Utah jail wait settlement provided for a special master who

 is Dr. Patrick Fox, who until recently was the head of Colorado’s Office of Behavioral Health. See

 Exhibit 1 (recent Utah special master report by Dr. Fox). Alabama’s jail wait litigation involves a

 special master filing quarterly reports. See Exhibit 2 (recent Alabama special master report). The

 State of Washington has a court-ordered independent monitor who supervises its jail wait

 settlement to assess and evaluate the data and assists in providing the State of Washington, the

 Court and parties with realistic solutions. See Exhibit 3 (Groundswell report). Additionally, as

 requested here, the State of Washington’s Defendant was ordered to submit detailed monthly

 reports to the Independent Monitor while out of compliance. See Exhibit 4 (April 2018 Report to

 the Independent Monitor).

           9.     Second, the Court has already held that Defendants are in breach since June 22,

 2018. Dkt. 113 at 25. It has reserved ruling on the ultimate remedies, but it retains broad ability

 to fashion a remedy. Id. at 25-27. Appointing a special master squarely falls within those rights.

           10.    Third, the Court has general equitable powers and they are served here by

 appointment. “Beyond the provisions of [Fed. R. Civ. P. 53] for appointing and making references

 to Masters, a Federal District Court has the inherent power to supply itself with this instrument for

 the administration of justice when deemed by it essential.” Sibley v. Sprint Nextel Corp., 298

 F.R.D. 683, 685 (D. Kan. 2014) (internal quotation marks omitted; second bracketed alteration in

 original) (quoting Schwimmer v. United States, 232 F.2d 855, 865 (8th Cir.1956)); see also Reed

 v. Cleveland Bd. of Ed., 607 F.2d 737, 746 (6th Cir. 1979) (holding that the authority to appoint

 “expert advisors or consultants . . . derives from either Rule 53 . . . or from the ‘inherent power’

 of the court”); Trentadue v. U.S. Cent. Intelligence Agency, 2:08-CV-0788, 2015 WL 1968263, at


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 *6 (D. Utah Apr. 30, 2015) (“[E]xercising its inherent powers, the Court hereby APPOINTS

 Magistrate Judge Dustin B. Pead as Special Master in this action.”).

           11.       Finally, the Court has the power to refer matters to a special master, including for

 “adopting special procedures for managing potentially difficult or protracted actions that may

 involve complex issues.” Fed. R. Civ. P. 16(c)(2)(H, L).

           12.       Defendants may claim this is a punitive measure, but it is not intended to be. The

 Department, DLC, and the Court need expert guidance and information for different reasons in a

 situation where all parties and the Court agree there is a problem of statewide importance that

 needs to be resolved as quickly as possible and, hopefully, permanently. Appointing someone to

 support the parties and the Court to that end goal will benefit everyone, including most importantly

 the thousands of mentally ill detainees who have been or are being forced to wait months in jail to

 receive any mental health treatment from the Department and in violation of their constitutional

 rights.

           13.       Here, the special master would provide a beneficial and much needed resource to

 the Court and the parties and would serve multiple functions, including accomplishing important

 tasks such as:

                  (a) preparing objective expert reports for the Court and the parties analyzing
                      why this problem has persisted and not improved for 18 months, and
                      suggesting various methods to improve the system;

                  (b) evaluating the Department’s data and plans (including the Court-ordered
                      December 14, 2018 plan) from a forensic systems perspective, including
                      assessing the plan’s strengths and weaknesses for potentially remedying the
                      current crisis;

                  (c) conducting a historical evaluation of the system, including analyzing the
                      Department’s frequent inability to comply with the required timeframes and


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                     addressing why the Department consistently invokes Departmental Special
                     Circumstances and how that can be avoided in the future;

                  (d) receiving monthly reports from the Department (or as the Court orders) to
                      collaborate with the Department to employ protocols, systems, and data
                      collection for both transparency and to evaluate its own needs, weaknesses
                      and hopefully accomplishments;

                  (e) providing expert feedback to the Department on how to fix a system that
                      has been broken for at least a decade;

                  (f) testifying at the March 2019 hearing as an impartial expert to give the Court
                      guidance and perspective on the problems that exist and the solutions
                      moving forward; and

                  (g) continuing, after the March 2019 hearing, to monitor Defendants’ efforts to
                      come into compliance and its steps toward remaining in compliance and,
                      ultimately, could be part of the permanent remedies ordered by the Court in
                      its final resolution of these proceedings to enforce the Settlement
                      Agreement.

           14.       The parties previously agreed to have an independent consultant assist the

 Department with compliance-related issues under the Amended Settlement Agreement. Dkt. 71-

 1 § 7(a)-(f). His name is Dr. Joel Dvoskin. Unfortunately, Dr. Dvoskin has not been used by the

 Department as an effective resource. For example, it does not appear that Dr. Dvoskin has ever

 analyzed the monthly data or provided specific detailed plans for the remediation of the waitlist.

 Indeed, months after filing the Motion to Reopen the Settlement Agreement, Dr. Dvoskin emailed

 counsel for the parties asking what was going on in the case, as the last he heard the parties had

 been attempting to settle. See Exhibit 5 (email to Dr. Dvoskin). It appears that Dr. Dvoskin is not

 receiving any data from the Department (and has not for many months). It is not for today to

 assign blame for Dr. Dvoskin being sidelined, but the fact remains an independent expert that

 answers to the Court, and not the Defendants, is needed.



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           15.    DLC proposes Groundswell Services and its team of Drs. Neil Gowensmith and

 Daniel Murrie. They have tremendous, relevant experience. They have served as consultants for

 the state of Washington’s forensic mental health system from 2014 to 2018 and as lead consultants

 and expert witnesses in the 2015 federal class-action lawsuit. See Ex. 3. They also serve as

 consultants to the Los Angeles County Department of Health Services on these issues.

           16.    Dr. Gowensmith is someone who has credibility with both parties. DLC believes

 he can be an objective resource for the parties and the Court. Dr. Gowensmith has worked

 extensively for the state as a competency evaluator. Dr. Gowensmith has offered to allow Dr.

 Murrie to be the lead on the project to further ensure it is even-handed. The resumés of Drs.

 Gowensmith and Murrie are attached as Exhibit 6.

           17.    Attached as Exhibit 7 is a letter of interest from Groundswell about the position. In

 addition, DLC has worked with Groundswell and created a list of proposed duties, attached here

 as Exhibit 8.

           18.    For compensation, the Department should be ordered to pay for Groundswell’s

 services. The Department had already agreed in the 2016 Settlement Agreement to pay for Dr.

 Dvoskin. Dkt. 78-1 § 7(e); see also Brock v. Ing, 827 F.2d 1426, 1428 (10th Cir. 1987) (“In a

 given case, fairness may suggest that the expense be borne by one of the parties . . . . [T]he expense

 of the Master, caused by the ‘wrongdoer,’ should be borne by the ‘wrongdoer.’”).

           19.    Furthermore, Rule 53 provides the Court with the authority to allocate

 responsibility for payment of the special master’s fees to the Department. See Fed. R. Civ. P.

 53(g)(3). It is ultimately the State’s constitutional and statutory obligations to solve this problem

 and implement a constitutionally-sound system. It receives millions of dollars in funding for doing


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 so every year. As the party in breach, it should be responsible for paying the special monitor’s

 fees and costs in this case—not a non-profit and its pro bono counsel or the Court which have been

 forced to devote considerable resources to monitoring the Department’s actions and managing the

 Amended Settlement Agreement due to Defendants’ breach. The agreement with Dr. Dvoskin can

 be modified by the new scope of duties provided to the special master and ordered by the Court.

           20.    As part of the appointment process, the Court will be tasked with determining the

 length of the special master’s appointment. DLC believes it would be in everyone’s interest for

 the special master to be in place for the duration of the Amended Settlement Agreement. At a

 minimum, the Court should appoint the special master until such time that the Department returns

 to compliance and the Court enters final judgment against Defendants for their breaches of the

 Amended Settlement Agreement.

                                           CONCLUSION

           Everyone agrees there is a serious problem with Defendants’ persistent and ongoing failure

 to comply with the timeframes for providing inpatient restoration services to pretrial detainees

 required by the Amended Settlement Agreement. The parties and the Court need answers and

 assistance from a forensic systems psychologist with experience in matters such as this one. The

 appointment of an impartial, empowered expert will help everyone in this case. Groundswell is

 an entity that can work with and for the parties and the Court to provide such services and

 assistance. More than a remedy to Defendants’ breach, this is a step toward a meaningful and

 long-term solution.



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           DATED: December 6, 2018.


           Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on December 6, 2018, a true and correct copy of this

  motion was electronically filed the foregoing with the Clerk of the Court using the CM/ECF

  system, which will send notification of such filing to the following e-mail addresses:

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